                  I  Gary A. Zipkin
                     GUESS & RUDD P.C.
                 2 · 510 L Street, Suite 700
                     Anchorage, AK 99501
                 3   (907) 793-2200 Telephone
                     (907) 793-2299 Facsimile
                 4   E-Mail: gzipkin@guessrudd.com
                  5      Attorneys for XL Specialty Insurance Company
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                  8                                            IN THE UNITED STATES DISTRICT COURT

                  9                                                       FOR THE DISTRICT OF ALASKA

                10
                         KLUKWAN, INC. AND THE GENERAL
                11       INCOME TRUST,

                12
                                                                            Plaintiff,
                                                                                               Case No. 1: 13-cv-- -
                13       v.
                                                                                               Superior Court Case No.: IJU-12-924 Cl
                14       XL SPECIALTY INSURANCE
                         COMPANY, a Delaware Corporation,
                15       Licensed to Business in Alaska Under ID
                         8085,
                16
                                                                            Defendant.
                17
                18                                                                   NOTICE OF REMOVAL
                19
                20       To:          KLUKWAN, INC. AND THE
                                      GENERAL INCOME TRUST
                21                    c/o James J. Sheehan, Esq.
                22                    Simpson, Tillinghast, Sorensen &
                                      Sheehan
                23                    One Selaska Plaza, Suite 300
                                      Juneau, Alaska 99801
                24
                25                                  XL Specialty Insurance Company ("XL"), by and through its attorneys,
                26
                         Guess & Rudd P.C., hereby removes to this court the state court action described below.
                27
                28
    LAW OFFICES OF       Notice of Removal
   GUESS&RUDD P.C.       Klukwan v. XL Specialty Insurance Company, Case No. I: 13·CV·_
 510 L. ST., 7TH FLOOR
ANCHORAGE, AK 99501
                                   Case 1:13-cv-00002-TMB Document 1 Filed 04/04/13 Page 1 of 6
                         State Court Case No. IJU-12-924 Cl
                         Page I of6
                  1                                                                      I.   Introduction
                  2
                                                     On November 9, 2012, Plaintiffs Klukwan, Inc. ("KLI") and the General
                  3
                         Income Trust ("GIT") (collectively, "Plaintiffs") filed a suit against XL in the Superior
                  4

                  5      Court for the First Judicial District at Juneau, Alaska, entitled Klukwan, Inc. and the

                  6      General Income Trust v. XL Specialty Insurance Company, Case No. 1JU-12-924CI.
                  7
                                                     The Complaint alleges, among other things, that XL breached its contractual
                  8
                         obligations under a private company insurance policy issued by XL to KLI when XL
                  9
                10       denied insurance coverage related to the lawsuit styled Hotch v. Klukwan, Inc., at al, Case

                11       No. 1PE-10-067 (Superior Court for the First Judicial District at Petersburg, Alaska) (the
                12
                         "Hotch action"). 1 The Complaint against XL includes causes of action for (1) Declaratory
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                         Judgment, seeking an order that Plaintiffs are entitled to insurance coverage for the Hotch
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                15       action; (2) Misrepresentation, claiming that XL's advertising was false and misleading as

                16       it relates to potential coverage for the Hotch action; (3) Violation of State Law, claiming
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                         that XL has violated "Alaska laws- AS 21.36.020, .030 and .125" in denying coverage
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                         for the Hotch action; (4) Bad Faith, claiming that XL's denial of coverage violates the
                19
                20       covenant of good faith and fair dealing so that XL should be liable for punitive damages;

                21       (5) Breach of Contract, claiming that XL' s denial of coverage is a breach of the terms of
                22       the insurance policy; (6) Breach of Covenant of Good Faith, claiming that XL's denial of
                23
                         coverage violates the covenant of good faith and fair dealing so that XL should be liable
                24
                25       for compensatory damages; (7) Bad Faith Settlement Practices, claiming that XL's actions

                26       in refusing coverage were outrageous and in bad faith, so that XL should be liable for
                27
                28       1
                             See Exhibit A, Complaint~~ 8-13.
    LAW OFFICES OF       Notice of Removal
  GUESS&RUDD P.C.        Klukwan v. XL Specialty Insurance Company, Case No. 1:13-cv-_
 510 L. ST., 7TH FLOOR
ANCHORAGE, AK 99501      Page2of6  Case 1:13-cv-00002-TMB Document 1 Filed 04/04/13 Page 2 of 6
                         State Court Case No. IJU-12-924 CJ
                   1     punitive damages. Plaintiffs' prayer for damages requests "an amount sufficient to
                  2
                         compensate KLI and GIT for damages which may be proved, in an amount presently
                  3
                                                                                             2
                         estimated to greatly exceed $100,000.00."
                  4

                  5                                 This court has jurisdiction pursuant to 28 U.S.C. § 1332 and 28 U.S.C. §

                  6      1441. There is complete diversity as between the parties and the amount in controversy
                  7
                         exceeds the sum of $75,000, exclusive of interest and costs.
                   8
                                                    Pursuant to 28 U.S.C. § 1446, XL has attached as Exhibit A all of the state
                  9
                 10      court process, pleadings, and orders served upon it. This Notice of Removal is filed

                 11      within thirty days after service on XL of a copy of the original summons and complaint.
                 12
                         Id. 3 XL has, simultaneously with this filing, also filed its Notice of Removal in the
                 13
                         Superior Court for the First Judicial District at Juneau.
                 14
                 15                                                                       II. Argument

                 16                                 A.          The Amount in Controversy Exceeds $75,000
                 17                                 Where a complaint sets forth a specific amount of damages in excess of the
                 18
                         jurisdictional amount, then the plaintiffs allegations are controlling. 4 Because the
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                 20      Complaint seeks compensatory damages in excess of $100,000, the requisite amount in

                 21      controversy is satisfied.
                 22
                 23

                 24      2
                             Id. at p. 5.
                 25
                         3
                          The summons and complaint were served on the Alaska Director of Insurance on March 18, 2013 in
                 26      accordance with AS 21.09.180-190, and then forwarded on to XL.
                         4
                 27       See Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 402 (9th Cir. 1996) ("the sum claimed by the
                         plaintiff controls if the claim is apparently made in good faith") (quoting St. Paul Mercury Indem. Co. v.
                 28      Red Cab. Co., 303 U.S. 283 (1938)).
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 510 L. ST., 7TH FLOOR
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                                   Case 1:13-cv-00002-TMB Document 1 Filed 04/04/13 Page 3 of 6
                         State Court Case No. IJU-12-924 CI
                         Page 3 of6
                  1                                  B.         Complete Diversity Exists As to All Parties
                  2
                                                     There exists complete diversity of citizenship between the parties. The
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                         Complaint alleges that KLI is an "Alaska Native Village corporation for Klukwan,
                  4

                  5      Alaska, a Alaskan Native community located near Haines. KLI was chartered in 1973

                  6      pursuant to the Alaska Native Claims Settlement Act ("ANSCA"), and is licensed to do
                  7
                         business in Alaska." 5 Accordingly, KLI is a citizen of the State of Alaska. The
                  8
                         Complaint alleges that "GIT is an ANSCA Settlement Trust, established in 1995 by
                  9
                10       KLI. .. under ANSCA. The purpose of the [Trust] is to create an investment and

                11       education fund for the benefit ofKLI Shareholders .... " 6 Currently, there is a dispute as to
                12
                         who are the legitimate trustees ofGIT. The board members ofKLI serve as trustees for
                13
                         GIT, and there are currently two competing groups claiming to be the legitimate board of
                14

                15       KLI (and, in turn, the trustees of GIT). 7 As a result, at this time, it is unclear who the

                16       trustees of GIT are for the purposes of removal jurisdiction. In any event, XL is informed
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                         and believes, based on the allegations in the Complaint, that GIT is an ANSCA Settlement
                18
                         Trust established by KLI for the benefit of KLI shareholders 8, and that all of the possible
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                20       trustees are residents of Alaska. 9 Accordingly, GIT is a citizen of Alaska.

                21
                         5
                             See Exhibit A, Complaint~ I.
                22
                23
                         7
                24         See Johnson v. Columbia Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (explaining that a
                         trust has the citizenship of its trustees).
                25
                         8
                             Exhibit A, Complaint~ 2.
                26
                         9
                          The possible trustees include the following individuals: Rosemarie Hatch, Vincent Rinehard, Danita
                27       Aguilar, Irene Rowan, Tessie Chilton, Rod Wort, Brad Fleutsch, Delia Commander, Edward Hatch, Janice
                         Hatch, Marilyn Wilson, Stan Hatch, David Land, Richard Jack Strong, Brian Willard, Albert Rinehart,
                28       Duane Wilson, Dorothy Kraun, Jason Hatch, Laverne Bryant, Kim Strong, and Marsha Warner.
    LAW OFFICES OF
                         Notice of Removal
   GUESS&RUDD P.C.       Klukwan v. XL Specialty Insurance Company, Case No. I; 13~cv~_
 510 L. ST., 7TH FLOOR
ANCHORAGE, AK 99501      Page 4 of6 Case 1:13-cv-00002-TMB Document 1 Filed 04/04/13 Page 4 of 6
                         State Court Case No. IJU-12-924 Cl
                  1                               XL is, and was at the time of the filing of this action, a Delaware
                  2
                         corporation, with its principal place of business in Connecticut. As such, XL is a citizen
                  3
                         of Delaware and Connecticut for diversity purposes. 28 U.S.C. § 1332(c)(l).
                  4

                  5                                                                       III. Conclusion

                  6                               Because the substantive requirements of federal diversity jurisdiction have
                  7
                         been fully satisfied, XL respectfully requests that this court assume full jurisdiction over
                  8
                         this action.
                  9
                10                                DATED at Anchorage, Alaska, this 4th day of April, 2013.

                11
                                                                                                    GUESS & RUDD P.C.
                12                                                                                  Attorneys for XL Specialty Insurance
                                                                                                    Company
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   GUESS&RUDD P.C.       Klukwan v. XL Specialty Insurance Company, Case No. J: 13-cv-_
 510 L. ST., 7TH FLOOR
ANCHORAGE, AK 99501      Page 5 of6Case 1:13-cv-00002-TMB Document 1 Filed 04/04/13 Page 5 of 6
                         State Court Case No. IJU-12-924 Cl
                  1                                                 VERIFICATION FOR NOTICE OF REMOVAL
                  2      STATE OF ALASKA                                                         )
                  3                                                                              ) ss.
                         THIRD JUDICIAL DISTRICT                                                 )
                  4
                                Gary A. Zipkin, being of lawful age and being first duly sworn, deposes and says
                  5
                         that he has executed the above Notice of Removal, that he has read the same, and that the
                  6      matters therein set forth are true to the best of his knowledge, information, and belief, and
                         that he has signed the same freely and voluntarily
                  7

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                                        SUBSCRIBE~~i\{0J§     1bXORN TO before me this if"day of~' 2013.
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                17
                         CERTIFICATE OF SERVICE
                18       I hereby certify that on the 4th day of April, 2013, I
                         mailed a true and correct copy of the foregoing
                19       document to:

                20       James J. Sheehan, Esq.
                         Simpson, Tillinghast, Sorensen & Sheehan
                21       One Selaska Plaza, Suite 300
                         Juneau, Alaska 9980 I
                22
                         Guess & Rudd, P.C.
                23
                24       By:_--'-"'/s'-"G=a~ry_,_A=.Z=i~pk=in~--

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                         Notice of Removal
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 510 L. ST., 7TH FLOOR
ANCHORAGE, AK 99501
                                    Case 1:13-cv-00002-TMB Document 1 Filed 04/04/13 Page 6 of 6
                         State Court Case No. I JU. 12-924 CI
                         Page 6 of6
